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        How Much Can an Author Expect to Make on Their
                                          Book?
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 Ican't tell you how many times IGoogled "how much money does an author make per
 book" before getting abook deaL myself.
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 It also varies tremendously—which is what Iread over and over during my own Google
searches.

 But Iget how infuriating it is to expect Google to churn up an answer only to learn that
there is no answer.

So in late 2021, Idecided to gather and analyze the data for myself. Taking into
consideration over 1400 author responses (1469 to be exact), here is what Ifound. I'll cut
right to the chase.



The average advance for adebut author is
$57,
   000
This is across genres and publisher types. (If you want to get the full rundown of my data
and sources, you can watch the free webinar Idid on this subject here. Please watch this
before you email me asking me where the data came from—I go into great detail in this
video.)

For nondebut, it was slightly higher — $sg,000.

Now, average and median are different, and both are useful to know. The median advance
for authors was $25,000 regardless of whether it was the author's debut (first book
published) or not. That means half of authors selling their books made advances under
$25,000, and half of them made advances over $25,000.


Is this more or less than you expected? Let's break it down by category based on the type
of book you're writing.



Average advances by major categories
were...
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 Adult Fiction: $65,908

 Memoir: $90,686

 Young Adult: $50,718

 Middle Grade: $35,406

 These numbers varied dramatically based on whether the publisher who published the
 book was a"Big 5" publisher or not, and you can get the full, very detailed breakdown of
 this data by checking out the webinar Idid here.

 But what do we mean by "advances"?



 Everything you need to know about book
 advances
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 When people tell you what their book "sold for," what they mean is, what the size of their
 advance was.

 An advance is money that you're paid or guaranteed upon the sale of your book to a
 publisher. It's called an advance because it's an advance on your royalties—this money will
 come out of money that your book earns once it hits the shelves.

The nice thing, however, about an advance, is that if your book doesn't sell as well as
 hoped and therefore your royalties don't cover your advance, you still get to keep it. The
advance is yours no matter what happens.

 Since many books don't make a profit, especially for first time authors, this is avery good
thing for you as the writer.

Advances in the United States are typically paid out in three equal installments:

    1. You'll get the first installment upon the signing of your contract.

    2. The second installment when your book manuscript is totally completed and goes to

      production (after your editor gives it their stamp of approval—which is typically 3-12
      months after the signing of the contract).

    3. The third installment when it's published.
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So, if your book sells for $90,000, you'd get:

     -    30,000 when you sign the contract

     -*   30,000 when your editor decides the book is done and sends the draft to
     production

     -    30,000 when it hits bookstore shelves

Again, this money is an advance on your royalties, but you won't ever have to pay it back
(assuming you actually write and deliver the book, i.e, fulfill your obligation under the
contract).

Sometimes lam asked if writers should hire a lawyer to look over these agreements, even
if the agent is negotiating them.

 haven't known anyone to do that, but also, I'm not BEEs with Stephen King. Maybe at some
Level, Lawyers do become involved, but Itypically tell people their literary agent can
handle it (more on agents in a moment).

Technically Iused to be a lawyer, so you'd think I'd be abit more pro-lawyer, but these
contracts are so boilerplate that Idon't think it's worth your money unless you have an
especially giant advance or you're signing with a publisher who isn't one of the "Big 5" —
Penguin/Random House, Hachette, HarperCollins (Mine), Simon & Schuster, or Macmillan.




             Mary Adkir)             How Much Can You Expect
                                      to Make on Your Book?
                                     Afree, on-demand seminar ith new
                                           data from 1400+ authors
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Where does the literary agent come in?
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You almost certainly wiLl need aliterary agent to sell to apublisher, so there really isn't a
way around this—but also, great agents more than earn their commission! (You can read
my post on how to get a literary agent here.)

Agents take care of the hard parts so you can write, and they negotiate on your behalf. In
the United States, it's standard for literary agents to make 15% commission on your
domestic sales and 20% on your foreign sales.

To continue our $90,000 advance example, this means that those 3 payouts would actually
be reduced by 15%—so each would be $25,500.

For aforeign advance, it would be reduced by 20%. So if Germany buys your book for
$5,000, you'd get $4,000. (If you're curious why the percentage is greater for foreign rights,
it's because usually your agent has worked with alocal agent abroad to sell your book to a
publisher in that country: your agent and the other agent each get 10% of your payout,
totaling 20% that you hand over.)



How much will Imake per book sold?
Often people ask me, "Do you make the same amount regardless of where Ibuy the
book?"

No! So thank you for asking. If you want to bank good karma now, start buying from
independent bookstores like Indiebound, instead of Amazon.

There are many reasons why, and this article does agreat job of explaining them, but for
our purposes at the moment, let's focus on how much an author can expect to make on
their book.

A standard (but slightly simplified) breakdown for apublishing contract with amajor
publisher looks something like this:

     -       10% of hardback sale price up to 5,000; 12.5% from 5,001 to 10,000; 15% after


     -       7.5% of paperback sale price

     -   p   25% of digital versions


Amazon discounts books tremendously, meaning that you, as the author, are getting a
percentage of asmaller sales price. You make less.

That's the simple version.



Be prepared to promote yourself like whoa
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While your publisher will do its best to support you, you are going to have to learn to be
your own biggest cheerleader. This can be hard for writers who are often introverted and
socially anxious (hello).

But no one cares about your book's interest as much as you do—and so it is largely going
to fall on your shoulders to market it. Your marketing strategy plays into how much money
you can expect to make on your book.

Be prepared to yell from the rooftops about its publication and consider enlisting friends
or fellow writers as ateam to help you promote it.

Publishers these days don't pay for book tours, but you can cover your own—that's what I
did with When You Read This and what Iwas prepared to do with Privilege before COVID
hit and everything was canceled.

Your book advance you'll keep no matter what (as Long as you write the book), but it
behooves you and your publisher, both, for your book to sell well—and it will make your
next book easier to sell.
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Ihope you found this post detailing how much authors make per book helpful. Again, if you
want much more data on this topic, including breakdowns by fiction genre, you can catch
my free seminar and watch on your own schedule here.




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